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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MINNESOTA


MELINDA and MARK LOE,
et al.,

       Plaintiffs,                      Civil No. 0:23-cv-01527-NEB-JFD

  v.                                     PLAINTIFFS’ MOTION FOR
                                           PARTIAL SUMMARY
WILLIE JETT, et al.,                           JUDGMENT

       Defendants.




  Under Federal Rule of Civil Procedure 56(a) and Local Rule of Civil
Procedure 7.1, Plaintiffs move for summary judgment on Counts I-VI of
their Complaint (ECF 1). They also move for summary judgment on
each of Defendant Minnesota Department of Education’s counterclaims

(ECF 27, at 63-69).
  Plaintiffs are religious schools and families that wish to continue
participating in Minnesota’s Postsecondary Enrollment Options (PSEO)

program. The PSEO program allows high school students to
simultaneously earn high school and college credit at public or private
postsecondary schools for free. But on May 24, 2023, Minnesota
amended the law governing PSEO to exclude religious institutions from
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participating in the program if they require students to sign a
statement of faith or give preference to students that share the

institutions’ faith. Minn. Stat. § 124D.09, Subd. 3(a). Plaintiffs Crown
College and University of Northwestern – St. Paul are Christian higher
education institutions that have faith-based admissions criteria and are
ineligible to participate in the PSEO program under the amended law.
Plaintiffs Melinda and Mark Loe and Dawn Erickson proceed on behalf
of themselves and their children, who would like to participate in the
PSEO program at Crown and Northwestern. Plaintiffs brought this suit
alleging   that   the   new law violates the        U.S. and      Minnesota
Constitutions.
  After Defendants agreed to a preliminary injunction allowing Crown
and Northwestern to maintain their longstanding admissions practices,
Defendant Minnesota Department of Education filed counterclaims
against Crown and Northwestern. These counterclaims allege that the
schools’ religious admission requirements violate the Constitutions of
the United States and Minnesota, and the Minnesota Human Rights
Act.
  Plaintiffs respectfully request that the Court enter an order granting
partial summary judgment in Plaintiffs’ favor; declare that the May 24,

2023   amendment        violates   the   First   Amendment   of   the   U.S.
Constitution; permanently enjoin Defendants from enforcing any
provision of that amendment; grant attorneys’ fees and other relief to
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Plaintiffs as the Court deems just and proper; and grant Plaintiffs
summary judgment on Defendant’s counterclaims in their entirety.

  Pursuant to Local Rule of Civil Procedure 7.1(c)(1), Plaintiffs hereby
file this motion along with a notice of hearing, a memorandum of law,
and a proposed order.


  Respectfully submitted this 3rd day of September, 2024.


                                 /s/ Eric S. Baxter
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